                   EXHIBIT A-1




Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 1 of 60 PageID #: 8
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 2 of 60 PageID #: 9
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 3 of 60 PageID #: 10
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 4 of 60 PageID #: 11
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 5 of 60 PageID #: 12
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 6 of 60 PageID #: 13
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 7 of 60 PageID #: 14
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 8 of 60 PageID #: 15
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 9 of 60 PageID #: 16
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 10 of 60 PageID #: 17
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 11 of 60 PageID #: 18
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 12 of 60 PageID #: 19
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 13 of 60 PageID #: 20
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 14 of 60 PageID #: 21
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 15 of 60 PageID #: 22
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 16 of 60 PageID #: 23
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 17 of 60 PageID #: 24
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 18 of 60 PageID #: 25
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 19 of 60 PageID #: 26
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 20 of 60 PageID #: 27
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 21 of 60 PageID #: 28
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 22 of 60 PageID #: 29
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 23 of 60 PageID #: 30
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 24 of 60 PageID #: 31
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 25 of 60 PageID #: 32
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 26 of 60 PageID #: 33
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 27 of 60 PageID #: 34
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 28 of 60 PageID #: 35
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 29 of 60 PageID #: 36
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 30 of 60 PageID #: 37
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 31 of 60 PageID #: 38
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 32 of 60 PageID #: 39
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 33 of 60 PageID #: 40
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 34 of 60 PageID #: 41
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 35 of 60 PageID #: 42
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 36 of 60 PageID #: 43
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 37 of 60 PageID #: 44
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 38 of 60 PageID #: 45
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 39 of 60 PageID #: 46
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 40 of 60 PageID #: 47
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 41 of 60 PageID #: 48
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 42 of 60 PageID #: 49
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 43 of 60 PageID #: 50
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 44 of 60 PageID #: 51
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 45 of 60 PageID #: 52
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 46 of 60 PageID #: 53
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 47 of 60 PageID #: 54
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 48 of 60 PageID #: 55
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 49 of 60 PageID #: 56
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 50 of 60 PageID #: 57
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 51 of 60 PageID #: 58
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 52 of 60 PageID #: 59
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 53 of 60 PageID #: 60
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 54 of 60 PageID #: 61
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 55 of 60 PageID #: 62
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 56 of 60 PageID #: 63
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 57 of 60 PageID #: 64
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 58 of 60 PageID #: 65
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 59 of 60 PageID #: 66
Case 4:12-cv-00035-SKL Document 1-1 Filed 06/06/12 Page 60 of 60 PageID #: 67
